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   8                            UNITED STATES DISTRICT COURT
   9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  11 JANE DOE, an individual,                     CASE NO. 2:16-cv-02085-CAS (AGRx)
  12                   Plaintiff,                 ORDER PERMITTING PLAINTIFF
  13                                              TO DEPOSE DEFENDANTS LUIS
                  v.                              VALENZUELA AND JAMES
  14                                              NICHOLS
     LUIS VALENZUELA, an individual;
  15 JAMES NICHOLS, an individual;                Assigned to the Hon. Christina A. Snyder
     THE CITY OF LOS ANGELES, a                   and Hon. Alicia G. Rosenberg
  16 municipality,
  17                                              [Filed Concurrently Ex Parte Application
                 Defendants.                      and Declaration of David W. Schecter]
  18
                                                  Action Filed:       March 28, 2016
  19                                              Trial Date:         December 4, 2018
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       393979.2                                               Case No. 2:16-cv-02085-CAS (AGRx)
       ORDER PERMITTING PLAINTIFF TO DEPOSE DEFENDANTS LUIS VALENZUELA AND JAMES NICHOLS
Case 2:16-cv-02085-CAS-AGR Document 73 Filed 08/08/18 Page 2 of 2 Page ID #:425




   1                                            ORDER
   2              After due consideration of Plaintiff’s Unopposed Ex Parte Application, and
   3 for good cause shown, the Court hereby GRANTS the Ex Parte Application.
   4 Pursuant to Federal Rule of Civil Procedure 30(a)(2)(B), the Court hereby grants
   5 Plaintiff leave to depose Defendants Luis Valenzuela and James Nichols.
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   7              IT IS SO ORDERED.
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   9 Dated: August 8, 2018
                                                              Hon. Alicia G. Rosenberg
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                                                              United States Magistrate Judge
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       ORDER PERMITTING PLAINTIFF TO DEPOSE DEFENDANTS LUIS VALENZUELA AND JAMES NICHOLS
